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                          PLAN EXHIBIT 2




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                                        Plan Exhibit 2

                    RETAINED CLAIMS AND CAUSES OF ACTION

Any and all Claims and Causes of Action against:

    1.  Any officer, director, employee, consultant of the Debtors
    2.  Any insider of the Debtors
    3.  Any pre-petition professional for malpractice
    4.  The defendants in University General Health System, Inc., et al. vs. SysInformation
        Healthcare Services, LLC, Adversary Proceeding No. 15-3237 in the United States
        Bankruptcy Court for the Southern District of Texas.
    5. The plaintiffs in the class action of former Dufek employees brought against the Debtors
        in the adversary proceeding pending in the United States Bankruptcy Court for the
        Southern District of Texas.
    6. Michael Griffin
    7. Donna Griffin
    8. Brandon Griffin
    9. Ryan Griffin
    10. Jordan Griffin
    11. Samantha Griffin
    12. Globonics
    13. Randy Butler
    14. Management Affiliates of Northeast Houston, LLC
    15. Ken Efird
    16. Nobilis Healthcare
    17. Crowe Horwath
    18. PlainsCapital Bank
    19. Emergency Medical Group, LLC d/b/a EliteCare EME
    20. Kingwood Emergency Center d/b/a Neighbors Emergency Center
    21. Siemens Medical Solutions
    22. Reed Migraine Centers of Texas, PLLC
    23. Dr. Kenneth Reed
    24. Jacinto Surgery Management, LLC, Garth/201 Holdings, LP, Jacinto Medical Center, LP,
        and Jacinto Medical Group, PA and their Affiliates
    25. UGHS Dallas Hospitals, Inc.
    26. Dufek Massif Hospital Corporation




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